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From: Jourdon Bryant

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Hide sue

To: Tanya Batten

tbarfield@barfieldassociates.com

FW: Revision Needed for
1357 W Mosswood Ln, Citrus
Springs, FL

May 8, 2018 at 12:30 PM

Please correct owner of record to Wilmington
Savings Fund Society, FSB d/b/a Christiana Trust as
per title commitment.

Please correct owner of record to Wilmington
Savings Fund Society, FSB d/b/a Christiana Trust as
per title commitment..

Jourdon Bryant
Administrative Assistant
Barfield & Associates, LLC

Ocala

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